                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Midwest Operating Engineers Pension Trust        )
 Fund, et al.,                                    )
                                                  ) Civil Action No.: 18-cv-7097
                               Plaintiffs,        )
                                                  ) Judge: Sharon Johnson Coleman
            vs.                                   )
                                                  ) Magistrate: Young B. Kim
 Americana Landscape Group, Inc. d/b/a            )
 Alaniz Landscape Group, Inc.,                    )
                                                  )
                           Defendant.             )

             JOINT MOTION FOR ENTRY OF AGREED FINAL JUDGMENT

        Plaintiffs, Midwest Operating Engineers Pension Trust Fund, Local 150 IUOE Vacation

Savings Plan, (collectively “the Funds”), Construction Industry Research and Service Trust Fund

(“CRF”) and Defendant Americana Landscape Group, Inc. d/b/a Alaniz Landscape Group, Inc.,

an Illinois corporation (“Alaniz”), (collectively “the Parties”), pursuant to Rule 54 of the Federal

Rules of Civil Procedure, jointly move to enter an agreed final judgment against Alaniz for unpaid

contributions owed, interest, liquidated damages, costs, and attorneys’ fees under § 301 of the

Labor-Management Relations Act (LMRA), 29 U.S.C. § 185, and 28 U.S.C. § 1331; and ERISA,

as amended, 29 U.S.C. §§ 1132, 1145.

        WHEREFORE, the Parties respectfully request that the Court enter judgment for unpaid

contributions, interest, liquidated damages, attorneys’ fees, and costs in the amounts set forth in

the Proposed Order (attached hereto as Exhibit A).

Dated: June 23, 2021                               Respectfully submitted,


s/James Connolly, Jr.                              s/Todd A. Miller
One of Plaintiffs’ Attorneys                       One of the Attorneys for Defendant
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                                 CERTIFICATE OF SERVICE

        The undersigned, an attorney of record, hereby certifies that on June 23, 2021, he
electronically filed the foregoing Joint Motion for Entry of Agreed Final Judgment which sent
notice to the following:


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                                             By: s/ James Connolly, Jr.
                                             One of the Attorneys for Plaintiffs




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